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EXHIBIT K
Case: 5:22-cv-01454-CEH Doc #: 1-14 Filed: 08/15/22 2 of 3. PagelD #: 50

G¥» SQUIRRELS

Squirrels, LLC Invaice

121 Wilbur Dr NE 00002865

North Canton, OH 44720

Us

Bil To Name Nance Ple Ltd Issue Date 6/17/2018
Bil To 8 St Martin's Br Due Date 6/17/2018

#03-21 St Martin Residence
Singapore 258005
5G

BCU1525 with mods no DIMMS USD 3,350.00 19,00 USD 63,850.06

Subtotal USD 63,650.06
Grand Totai USD $3,650.06
Terms and Sicck Is not reserved until payrnent has been recelved,
Conditions
Taxes, import fees and duties, and shipping cosis {0 be collected al time of shipment.
Wire Transfer JPMorgan Chase Bank, N.A.

219 North Main St.
Noah Canton, GH 44720
Routing: 044600037
Account: 233220217
Swift Code: CHASUS33
a  Y

eset ethic rere

Case: 5:22-cv-01454-CEH Doc #: 1-14 Filed:

DBSSSGS0 SHEFF SYSTEM
BHSENT OUTIGOTHG SHIFT MESSAGES SENT

BNL YDESSSGSORRKPYOD

U-OMLD~ 1CHASUSIAXXK 10300 16073394457
AUSF EX=180618134571036
NESSAGE_CREATION_DATE% 8/06/2018
Pormataswift

Sub. format= input
Identifier=fi0, i093

MURS

Fin-Copy=

Sendac=DesSSGSGarKxs
Recalvar=ClASUSFIXAXK

Message Textr

20: Sender's Reference

0016073394457
23nr Hank Operation Code

GRED
32A1 Vai Dte/Curz/Taterbnk Settid Ane

Date 416 June 2018

Curreney 1 YSN (US DOLLAR)

Amount ' 463,650, 8
Jans Gurrency/Inatructed Amount

Correancy + YAR (US DOLLAR)

Amount + $63,650, 4
SOK: Ordering Customer-Hawe & Address

1200768586

FORSELL CARL LENG
6 8T. MARTEN?§ DRIVE ST. MARTIN
RESIDENCR 63-21 SINGAPORE 258005
SIAL AacouNt With Inatiturion ~ PY BEC
JF /FHO44G00037
CHASUSIIXKK
Henelictary Costomer-Namea & Addr
#291 615919
ALIMINE INC,
9900 CORPORATE CAMPUS DRIVE, SUITE
LOUISVILEE, KY 40223 USA
10; temiktance Information
LNVOICE GO8GR865
NONCE PTE LTD
49 X% BCU1525 NO OFMAS
FlAL Detaite of Chargaa
OUR

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PROCESAING DATE 3 02/07/2016
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